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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                                    District of Columbia

                                                                    Civil Division                Case: 1:22−cv−03222
                                                                                                  Assigned To : Cooper, Christopher R.
                                                                                                  Assign. Date : 10/20/2022
                                                                                                  Description: Pro Se Gen Civ (F−DECK)
                                                                           )       Case No.
                                                                           )                   (to be filled in by the Clerk’s Office)
                        John Paul Durbin
                                                                           )
                              Plaintiff(s)                                 )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,          )
please write “see attached” in the space and attach an additional          )
page with the full list of names.)                                         )
                                 -v-                                       )
      Nancy Patricia Pelosi, Charles Ellis Schumer,                        )
      Addison Mitchell McConnell III, Kevin Owen                           )
     McCarthy, William J. Walker, Karen H. Gibbon,                         )
                   J. Thomas Manger                                        )
                              Defendant(s)
                                                                           )
(Write the full name of each defendant who is being sued. If the           )
names of all the defendants cannot fit in the space above, please          )
write “see attached” in the space and attach an additional page
with the full list of names.)



                                   COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   John Paul Durbin
                                Street Address                         P.O. Box 66
                                City and County                        Walhonding, Coshocton
                                State and Zip Code                     Ohio 43843
                                Telephone Number                       571-250-0112
                                E-mail Address                         DurbinVsPelosiWashingtonDCFederalCourt@proton.me




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          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
                     Defendant No. 1
                                Name                         Nancy Patricia Pelosi
                                Job or Title (if known)      Speaker of the United States House of Representatives
                                Street Address               1236 Longworth House office building
                                City and County              United States Capitol, District of Columbia
                                State and Zip Code           Washington, D.C. 20515
                                Telephone Number             202-225-4965
                                E-mail Address (if known)


                     Defendant No. 2
                                Name                         Charles Ellis Schumer
                                Job or Title (if known)      Majority leader, United States Senate
                                Street Address               322 Hart Senate office building
                                City and County              United States Capitol, District of Columbia
                                State and Zip Code           Washington, D.C. 20510
                                Telephone Number             202-224-6542
                                E-mail Address (if known)


                     Defendant No. 3
                                Name                         Addison Mitchell McConnell
                                Job or Title (if known)      Minority leader, United States Senate
                                Street Address               317 Russell Senate office building
                                City and County              United States Capitol, District of Columbia
                                State and Zip Code           Washington, D.C. 20510
                                Telephone Number             202-224-2541
                                E-mail Address (if known)


                     Defendant No. 4
                                Name                         Kevin Owen McCarthy
                                Job or Title (if known)      Minority leader, United States House of Representatives
                                Street Address               2468 Rayburn House office building
                                City and County              United States Capitol, District of Columbia
                                State and Zip Code           Washington, D.C. 20515
                                Telephone Number             202-225-2915



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                                E-mail Address (if known)


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                      Federal question                          Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                      First Amendment to the United States Constitution, 4th & 5th rights. To permit an ordinary citizen to

                      peaceably assemble in the office buildings of the Congress of the United States (right of assembly),

                      to then physically present his petition for redress directly to the offices of the members of the United

                      States Congress (right of petition for redress of grievances). First Amendment, 3rd right, as an ordinary

                      citizen claiming status as a member of the press, without need for any professional affilitation, to be

                      accorded the reasonable accommodations made by the Congress of the United States for "so-called"

                      professional journalists who are accorded free and unfettered access to the buildings, offices and

                      hallways of the Capitol Hill office complex. Plaintiff needs entrance into three House office buildings,

                      three Senate office buildings, without interference by those officers and agents controlling access into

                      the Capitol Buildings of the Congress. Plaintiff asserts these First Amendment rights that cannot

                      be restricted by congressional officers or members of Congress (especially in October 2022, citing

                      COVID-19 as the rational for refusal of admission for "unapproved citizens"), demanding prior

                      permission for admission of an individual from any single member or multiple members of Congress.




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          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.        If the plaintiff is an individual
                                          The plaintiff, (name)                                                    , is a citizen of the
                                          State of (name)                                                  .


                                b.        If the plaintiff is a corporation
                                          The plaintiff, (name)                                                    , is incorporated
                                          under the laws of the State of (name)                                                            ,
                                          and has its principal place of business in the State of (name)
                                                                                              .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.        If the defendant is an individual
                                          The defendant, (name)                                                    , is a citizen of
                                          the State of (name)                                                  . Or is a citizen of
                                          (foreign nation)                                        .


                                b.        If the defendant is a corporation
                                          The defendant, (name)                                                , is incorporated under
                                          the laws of the State of (name)                                                 , and has its
                                          principal place of business in the State of (name)                                               .
                                          Or is incorporated under the laws of (foreign nation)                                            ,
                                          and has its principal place of business in (name)                                                .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversythe amount the plaintiff claims the defendant owes or the amount at
                                stakeis more than $75,000, not counting interest and costs of court, because (explain):




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III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?
                      United States Capitol complex, Washington, District of Columbia.




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                      1) October 27, 2021. Early afternoon. Plaintiff presented himself at the Longworth and Russell

                      congressional office buildings but was refused entrance; ongoing Covid-19; post-January 6th concerns.


                      2) October 12, 2022, 2:21 p.m. General Information Number, Capitol Visitors Center, 202-226-8000,

                      3:39 minute phone call with their public information office. Basic summary of conversation: No

                      citizens not on tours or lacking previously scheduled accessed with members of Congress are permitted

                      into the Capitol Complex.


                      3) October 17, 2022, 4:02 p.m. Review of the website for the Capitol Police, www.uscp.gov. Banner at

                      the top of their home page: "Due to the ongoing COVID-19 pandemic, the U.S. Capitol Building and

                      Congressional Office Buildings remain closed to the public." Yet tours of the Capitol now occur.


                      4) October 19, 2022, 11:48 a.m. General Information Number, Capitol Visitors Center, 202-226-8000,

                      Confirmed that the Capitol is open for tours with no masks required; public is allowed to visit

                      congressional offices,but only with the prior approval of each office. This is the "new normal" for the

                      Capitol complex since Congress "reopened" "their buildings" to the public, in March of 2022.




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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                      1) Plaintiff at the United States Capitol Complex, Wednesday, October 27, 2021. Was refused entry

                      into congressional office buildings by the officers at the doors, Longworth House office building,

                      Russell Senate office builing. Unable to get through to any staffers by telephone, save one member of

                      the House of Representatives. Still refused entrance into the building.


                      2) The phone calls of October 12 and 19, and Plaintiff's review of the website of the Capitol Police on

                      October 17 represent the current status of "unapproved citizens" accessing congresisonal offices

                      buildings. Even an admission to do something as simple as going to multiple offices to delivery a

                      document is not allowed: NO ONE GETS IN WITHOUT PRIOR APPROVAL. Based upon the details

                      in section IV Irreparable Injury, Plaintiff has no doubt that by verbally disclosing details for his

                      requested entrance over the phone to ordinary staffers would result in his inability to speak to any

                      higher authority in any congressional office, other than that the first-level staffer, and there would be no

                      approval from any member of Congress to allow (and be responsible, in the eyes of colleagues) such an

                      "expansive" access by a member of the public to all of the members of Congress.




IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.


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1) Failure to pass the annual spending on time. The United States Congress has failed to pass the

annual appropriations on time for the last-26 years in a row; a failure for 43 of the 47 years since

the 1974 budget law took effect in 1976, for Fiscal Year 1977. Owing to its failure to pass the

annual spending before the start of a fiscal year, October 1, the last-11 federal elections (beginning

with the November 2000 election) have occurred with members of Congress running for reelection

having failed to legally complete their most important and most regular task. These facts remain

unreported by the media and unknown to voters, in mid-October 2022. These failures by Congress

are a prominent part of the Plaintiff's Petition For Redress, with specific redresses requested.


2) Fake Debt Ceiling. The United States had a stated dollar amount for the legally permissible

Debt of the nation, in the United States Code, Title 31, Section 3101, from its inception on Sep-

tember 24, 1917, until August 2, 2011. The most recent increase to the dollar amount in the US

Code came in Public Law 111-139, February 12, 2010, 124 Statute 8, raising stated limit of Debt

from $12.394 trillion, to $14.294 trillion; the $14.294 trillion amount has remained unchanged

since that statute, in spite of the passage of 10 subsequent statutes, beginning August 2, 2011; the

most recent statute coming December 16, 2021. Congress has permitted an illegal situation to

occur since August 2, 2011, or certainly since December 31, 2012. While this suit does not attempt

to adjudicate the current status of US Code Title 31, Section 3101(a), Section 3101(b) or Section

3101A, these issues figure prominently in the Plaintiff's Petition For Redress, with specific

redresses requested. Per the United States Treasury website, Debt To The Penny, the indebtedness

of the United States of America stood at $31.211 trillion as of October 17, 2022, making the dis-

crepancy with the $14.294 trillion listed in the United States Code just over $16.917 trillion.


3) Election have become meaningless, with these matters have been hidden from the public.

As stated above, the federal elections of 2000, 2002, 2004, 2006, 2008, 2010, 2012, 2014, 2016,
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2018, and 2020 occurred with members of Congress seeking reelection, having failed to do their

job to pass the annual spending by law and rule and regular order by September 30th each year,

with the American people, especially voters, wholly unaware. This is a story that this media has

chosen to not fully report. Further, beginning with the election of November 2014, then 2016,

2018, and 2020, the members of Congress have been seeking approval of voters, even as those

voters were unaware that the Congress has corrupted what had been a 94-years-long tradition of a

stated dollar limit for the indebtedness of the nation. With voters unaware that the Debt limit is no

longer real or legal, regardless of what any politician says, regardless of any media reporting;

regardless of the language currently in the United States Code. The Debt limit for the nation only

exists in the United States Code, Title 31, Section 3101(b), that has now become at variance with

what the Treasury Department regularly reports to the nation.


4) This media, the existing Washington corporate and “so-called public media,” serving as the

“official” “free press” of the nation never put these basic facts of the spending-and-debt games of

Congress before the nation. Elections have become little more than a popularity contest or a team

event, with voters choosing one side or the other. Elections have had no substantive focus on the

actions of Congress for its public record that remains, today: unknown. Obviously, the First

Amendment right for a free press does nothing to compel that press to report the truth, the whole

truth, and nothing but the truth. Most Americans wonder why Washington is so broken, combative,

and unresponsive to citizens and their concerns. When the most important tasks of Congress have

become unaccountable to anyone outside the halls of Congress, when media reporting conveniently

misses the most important details, you end up with what we have today: a Congress unaccountable

to citizens. Elections have become nothing more than the blunt choice of sending current members

of Congress back to “the show,” or firing them for a replacement from the other political party.

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5) Plaintiff believes that the only way that this scandal is answered will be if Congress is

directly confronted. By the petition from the Plaintiff. And the only way for this Plaintiff to

have any assurance that his Petition For Redress has hit the mark, that it cannot be ignored

and must be answered, will be from the simple act of this court filing. From a ruling by this

court, specifically: granting of a TRO. For the subsequent admission of one man into the

office buildings of the Congress of the United States of America to deliver his written Peti-

tion For Redress. Petitioner is engaging in the difficult, but time-honored struggle of speaking

truth to power. From the Magna Carta of 1215, forced upon the English King, to the 95 The-

ses of Martin Luther in 1517, to the American Declaration of Independence in 1776, history

continually records the great difficulty in confronting tyranny. In calling out those in power

who abuse it. To challenge those with power who will not listen, who cannot be approached.

To demand that those unfaithful public servants yield to the public and a reasonable call for

fairness, for the public's petitions to be heard in the nation’s public square: the Congress of

these United States of America. History has shown far too many times that it is only the most

resourceful and dramatic and muscular confrontations that have any chance at success in an

effort to speak truth to power. This is that moment. I am that petitioner. Claiming an impor-

tant, if neglected right, the right of petition, as written in the First Amendment to the Consti-

tution of these United States of America. A right as important as that of the accused to con-

front his accusers in open court, the right of petition to the government for a redress of griev-

ances. With this claim, calling for the right of reasonable access to the public's buildings to

present my call upon their attention. My request for their response. But, a response not to me,

to a single individual, but to charges I have compiled against the Congress from their public

record. A call for their response, directly to the citizens of the nation.


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6) Failure for Timely Emergency Relief by this court before the second week of November

2022 does not change the Plaintiff's need or call for access as soon as possible, as ordered by

the Court. The matters in the petition are of the gravest importance to the nation. The failure of

the court system and congressional officers to accommodate the Plaintiff before the November

8, 2022, election does not change my demand for access. To present my petition. Even if those

members of the 117th Congress, running for reelection, are lucky enough to have this filing and

its details suppressed before the nation votes. This Congress still intends to play games with its

passage for the already late, Fiscal Year 2023 spending, a fiscal year begun October 1, 2022.

Congress approved a Continuing Resolution for Fiscal Year 2023, through December 16, 2022.

Part of Plaintiff's petition seeks to have Congress debate and vote full-year funding before the

nation, rather than what has become their secret spending plans prepared behind closed doors,

made public and voted on in a matter of hours; that just happened March 9, 2022, for FY2022

funding. Further, the current, Fake Debt limit is $31.381 trillion, making it likely that the 117th

Congress, in a lame-duck session after the election, will attempt another dubious game to tem-

porarily put to bed the status of the limit. Unless Democrats, depending upon the results of

November 8, 2022, wish to force Republicans to shoulder the majority of that burden for the

next-round of deceptive debt games, to then be played sometime in 2023.


7) Twenty-six years of late appropriations; an intentional design by congressional leaders, sup-

ported by all of their members. Eleven years of a Fake Debt Ceiling, with the passage of 10 laws

that were only, ever, playing games; with the discrepancy between the United States Code and the

reality of the nation's debt, now more-than-double the last, legal limit of $14.294 trillion. With

eleven federal elections, beginning with 2000, each one, more of an empty event than any citizen-

elector knew. Because these stories have been hidden from the nation. How many more days,

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weeks, months, years: must the nation wait until someone effectively calls out the nation's dishon-

est Congress for its record. With this president and the ones before, complicit in allowing the games

of Congress to proceed. Two branches of the federal government, wholly committed to spending,

spending far too much and obscuring the details of their spending games while hiding the truth of

the nation's debt. Checks and balances are nowhere in this system. Leaving one petitioner at the

mercy of a federal district court and a single judge. A lone petitioner, coming without counsel or

artifice or pretense. An ordinary citizen, merely but not meekly seeking the access of a reasonable

person to deliver a petition, my documents, in person. A constitutional right that ought trump any

excuses to bar the reasonable entry of one man into “their citadel,” when unmasked tours are now

being conducted and “approved public visitors” are allowed access into congressional offices.


8) “We the People of the United States, in Order to form a more perfect Union, establish Justice,

insure domestic Tranquility, provide for the common defence, promote the general Welfare, and

secure the Blessings of Liberty to ourselves and our Posterity, do ordain and establish this Consti-

tution for the United States of America.” What is the point of any of it when, in practice, elected

officials are able to stray so far from the lofty and honorable intentions of the nation's Constitu-

tion. When the Congress of the United States, in its management of the nation's fiscal affairs, has

effectively become unaccountable to anyone. A Congress, clearly beyond the reach of any sanction

or request for relief from citizens or voters. A nation “in the dark” on these matters, owing to a

“pretend free press” that has never put this story, with the most important details, before the Amer-

ican people. To let them decide for themselves whether they have been well served by their elected

officials. To decide whether their members of Congress have held true to their oath of office—

“. . . that I will well and faithfully discharge the duties of the office on which I am about to enter:

So help me God.” I report, in my formal Petition For Redress, eight Article I failings by Congress,

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along with their Article VI, Clause 3 failure to honor their oath of office. Lastly, as I speak of the

nation's written Constitution, I must ask: What is the point of a First Amendment to the Constitu-

tion, with a right to petition for redress, when the Congress, through its members, staffers, admin-

istrative officials, and law enforcement officers can bar entry into the most prominent public build-

ings of the nation's legislature to any citizen they wish, under any and all pretenses that they

choose. This First Amendment right of petition may have no protector outside of the nation's

courts. In theory, upon the page, it's a wonderful and important right. In practice, history gives lit-

tle guidance to its practical use. The mechanics of government has become oriented to accommo-

date the comfortable, the easy and the routine. No one knows what the right of petition is, and no

one with unchecked power, this Congress—unchecked within its deliberations between two pre-

tend, competing political parties, unchallenged by the other branches of government, unreported

by an “adversarial media,” or untouched citizens at the ballot box—wants to open themselves up

to a challenge from an outsider, a petitioner who does not have a comfortable relationship with

them. Everyone “in the club” knows that they must play by the rules of the club, for the failure to

hew to that is banishment and the lack of future access. Plaintiff asks the court: How do you think

these games have been able to play on for so long, with competing political parties and a “pretend”

free press, if not for the comfortable and clubby agreement among the many. All of them!


9) Plaintiff requests a Temporary Restraining Order under Rule 65, without notice to the

defendants, based upon the immediate and irreparable harm to the Plaintiff, to 159 million citizen-

electors of November 3, 2020, and to preclude harm for voters in the November 8, 2022, elections.

The spending and debt games of Congress have gone unchallenged within the halls of Congress,

easily accepted by every president, and wholly unreported by the nation's media. The public web

pages for the US Capitol Visitor Center https://www.visitthecapitol.gov/visit/book-a-tour, along

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with that of the United States Capitol Police https://www.uscp.gov, shows beyond any doubt the

current status for access by ordinary citizens to the Capitol buildings. A simple phone by any

federal court personnel to the U.S. Capitol Visitor Center, 202-226-8000, will quickly confirm that

only those citizens with a prearranged approval by a member of Congress will be granted access

into the Capitol and the six congressional office buildings. To preserve the integrity of the

November 8, 2022 election, to put this petition to the Congress, to ask for their timely but

immediate opening response—there simply isn't time for congressional leaders, the sergeants at

Arms for the House and Senate, or for the chief of the Capitol Police to pretend that are no barriers

to this plaintiff, that a phone call from him to any of the offices for his access would gladly and

easily be accomplished. On the face of it, there can be no harm to the members of Congress, to

their staff, the office building staff or to Capitol Police officers, by a Temporary Restraining Order

from the court to permit one man into “their buildings” to present his petition. With the issuance of

a 14-days Temporary Restraining Order, the plaintiff will attempt to make the formal, written and

electronically conveyed arrangements with the defendants for his access into the Capitol complex

to enable his distribution of his petition to the members of Congress.


10) The balance of equities between the parties shows an unaccountable Congress that currently

holds complete power over the Plaintiff or any other citizen who wish to call upon them and for the

manner of that call, with no consideration of any First Amendments rights of a citizen, especially

when it comes to the right to petition the Government for a redress of grievances. Today, the undue

burden is upon the Plaintiff, with no capacity to get the attention or an equitable answer to his simple

request for admission. The cost to the defendants for the simple act of admission to their citadel is

negligible in terms of their personnel and their rules. The fault lies with an imperial Congress, with

its convenient, “one-size-fits-all” arbitrary rules allowing in some guests while excluding others.

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A Congress, its leaders, members, and administrative and law enforcement personnel, who have no

appreciation or interest in anyone's First Amendments rights when it comes to “their buildings” and

their “exclusive control” thereof. The fault lies in a Congress, currently unchallenged within or from

without, with no interest in being called to account for its past fiscal decisions, especially as the

nation is in the closing weeks of the 2022 midterm election. The public interest cries out for

Congress to be accountable to citizens. For dogged, aggressive, and combative reporting to

challenge elected officials for their records, not only to put that reporting before the public but,

when-and-where appropriate, to challenge those public officials directly. The lament by the Plaintiff

in paragraph 7 shows that there are no checks and balances working in today's comfortable, insular

Washington. Absent this reporter, this Plaintiff, this Petitioner, supported by this court: the spending-

and-debt games of Congress will go on, not only unreported, but unchecked by voters—who know

none of the details, as the calendar is racing towards November 8, 2022, and a 12th election in a row,

where most members asking for voter approval will be returned to Congress. But this time, it will be

because the wheels of justice heard not a call, or could not or chose not to respond in time. If ever

the nation needed its Constitution honored and the rule of law upheld and the chance for a citizen to

be allowed to petition the Congress for a redress of grievances: this is that moment. The Plaintiff

begs the indulgence of the court for the length of this complaint. But this Pro Se Plaintiff is

unfamiliar with the rules and procedures of the Federal Courts. But I would have cheated myself, the

nation, the court, and this call to justice, if I left any stones unturned in my effort to receive an

immediate Temporary Restraining Order from the court to assure my access to the congressional

offices buildings within the matter of a few days. Federal Court is not the place to adjudicate these

important national issues concerning the work record of Congress. But it is the only place where the

Plaintiff may receive the protection for his right to petition for a redress of grievances.


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V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          To instruct the Capitol Police force, its officers and administrative personnel, along with any other congressional

          staffers or officers, to make immediate, written accommodations so that the Plaintiff may travel from Ohio,

          confident in his access to any and all congresional offices buildings, halls and corridors, during normal working

          hours. Plaintiff requests escort by the Capitol Police. Said written accommodations may not demand more than

          24 hours email notice from Plaintiff, with his copy to the court; with return email of approval to Plaintiff, copied

          to the court, for his first point-of-access, with no advanced notice required for any subsequent days. Further:

          Plaintiff requests credentials from the Capitol Police for a permanent badge-of-access, currently available to

          credentialed members of the corporate media. Plaintiff/Petitioner is a self-employed, unaffiliated journalist,

          obviously unable to comply with the ordinary, burdensome requirements for credentials for "approved"

          corporate media, owing to his status as an unknown and unaffilated citizen-advocate-journalist.




VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where caserelated papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.




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Additional Defendants,                  John Paul Durbin v Pelosi, Schumer, McConnell, McCarthy,
Walker, Gibbon, Manger

         Defendant No. 5
                   Name:                                     William J. Walker
                   Job Title:                                Sergeant at Arms, United States House
                   Street Address:                           Room H-124 US Capitol
                   City/County                               Washington, D.C.
                   State/Zip Code                            20515
                   Telephone No.                             202-225-2456
                   E-mail                                    saamail@mail.house.gov


         Defendant No. 6
                   Name:                                     Karen H. Gibbon
                   Job Title:                                Sergeant at Arms, United States Senate
                   Street Address:                           US Capitol
                   City/County                               Washington, D.C.
                   State/Zip Code                            20510
                   Telephone No.                             202-224-2341
                   E-mail


         Defendant No. 7
                   Name:                                     J. Thomas Manger
                   Job Title:                                Chief, Capitol Police
                   Street Address:                           119 D Street, NE
                   City/County                               Washington, D.C.
                   State/Zip Code                            20510
                   Telephone No.                             202-224-1677
                   E-mail                                    USCapitolPolice@uscp.gov




                                                                                          Added Defendants Page 17
